

Matter of Lewis (2024 NY Slip Op 03675)





Matter of Lewis


2024 NY Slip Op 03675


Decided on July 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., OGDEN, NOWAK, DELCONTE, AND KEANE, JJ. (Filed June 21, 2024).


&amp;em;

[*1]MATTER OF RICHARD DAVID LEWIS, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDERApplication to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








